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AO 91 (Rev. 11/f1) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

 

 

Southern District of Texas

Clerk of Court

 

 

 

United States of America ) .
v. ) O-
Daisy Suzeth GONZALEZ )  Caseno. K\-(1— | BloO- WM
(YOB:1992)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of September 28, 2017 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. Title 751(a) Knowingly ESCAPE from federal custody, that is, Mid-Valley Residential

Reentry Center located in Edinburg, Texas in which she was lawfully
confined at the direction of the Attorney General by virtue of a judgment and
commitment of the United States District Court of the Southern District of
Texas for the conviction of conspiracy to possess with intent to distribute
152.85 kilograms of marijuana, a Schedule | controlled substance.

This criminal complaint is baséd on these facts:

See attachment "A”

Mf Continued on the attached sheet.

. Complainant ’s Agnature

Mario Loya, Deputy U.S. Marshal

Printed name and title

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lar \ Judge's signature

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City and state: McAllen, Texas AA . “Te ) <
Prir name and title

 

 

Date: \— lo -

 

 
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Attachment “A”

On November 15, 2012 Drug Enforcement Administration agents arrested Daisy Suzeth
GONZALEZ in case 7:12-CR-01997-1 for conspiracy to possess with intent to distribute 152.85
kilograms of marijuana.

On February 26, 2013 GONZALEZ pled guilty to count #1 of the indictment: Conspiracy to
possess with intent to distribute 152.85 kilograms of marijuana, a Schedule | controlled
substance Title 21 U.S.C. 846, 841 (a)(1) and 841 (b)(1)(B).

On May 9, 2013, the Honorable District Court Judge Randy Crane sentenced GONZALEZ to 60
months custody of the Federal Bureau of Prisons with 4 years of supervised release.

On April 5, 2017, GONZALEZ was transferred to the Mid-Valley Residential Reentry Center in
Edinburg, Texas. GONZALEZ was to remain in custody at the Reentry Center until the conclusion
of her sentence on October 19, 2017.

On September 28, 2017 at approximately 1:15 PM, Mid Valley Reentry Center staff members
reported that GONZALEZ had left the facility on foot without permission and had yet to return.
At approximately 1:23 PM the Federal Bureau of Prisons provided the United States Marshals
Service with a Notice of Escaped Federal Prisoner form regarding GONZALEZ. On September 28,
2017, Deputy United States Marshals of the McAllen division made a coordinated effort to
locate GONZALEZ. As of October 11, 2017, GONZALEZ’s current whereabouts remain unknown.
